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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

 ACQUANLAN DEONSHAY HARRIS                        §
                                                  §
                 Plaintiff,                       §
                                                  §
            v.                                    § CASE NO. 6:20-CV-00271-ADA-JCM
                                                  §
 CENLAR, FSB,                                     §
                                                  §
                 Defendant.                       §


                                 NOTICE OF SETTLEMENT

       Plaintiff Acquanlan Deonshay Harris (“Plaintiff”) and Cenlar, FSB (“Defendant”),

(collectively the “Parties”) file this Notice of Settlement and respectfully report to the Court as

follows:

       The Parties have reached an agreement, in principle, to resolve the claims that Plaintiff

asserts against Defendant in this action.     The Parties have finalized the formal settlement

agreement and are in the process of executing it. The Parties respectfully request that the Court

vacate all pending hearings and deadlines and provide the Parties thirty (30) days to finalize the

settlement documents and file a joint stipulation to dismiss with prejudice.

DATED: July 15, 2022.                         Respectfully submitted,

                                              HUSCH BLACKWELL, LLP

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                                          ATTORNEYS FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Notice of Settlement was served on all parties in
accordance with the Federal Rules of Civil Procedure on the 15 th day of July 2022.

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                                          /s/ Sabrina A. Neff
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